Case 10-37875-KRH               Doc 33        Filed 08/14/13 Entered 08/14/13 13:35:12       Desc Main
                                             Document      Page 1 of 2



                                  UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF VIRGINIA
                                           Richmond Division

In re:                                                       )       Chapter 13
                                                             )
JOHN EDWARD SMALL, JR.,                                      )       Case No. 10-37875-KRH
                                                             )
                             Debtor.                         )


                                NOTICE OF APPEARANCE OF COUNSEL
                                  AND REQUEST FOR ALL NOTICES

Please enter the appearance of PHILLIPS & FLECKENSTEIN, PC, specifically Abigail S.
Phillips, as counsel for debtor.


                                            Abigail S. Phillips, Esquire
                                        PHILLIPS & FLECKENSTEIN, PC
                                          311 South Boulevard, 2nd Floor
                                              Richmond, VA 23220

Pursuant to Bankruptcy Rules 2002, 9010(b), and 11 U.S.C. Section 1109(b), and other
applicable law, it is requested that ALL notices, pleadings, etc. be mailed to the attorneys above
and that their names and addresses be added to all mailing lists.

It is certified that copies of this document have been transmitted to the parties indicated below in
the manner shown.


                                                     /s/ Abigail S. Phillips
                                                     Abigail S. Phillips




Abigail S. Phillips, Esquire (Va. Bar No. 39649)
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Case 10-37875-KRH        Doc 33     Filed 08/14/13 Entered 08/14/13 13:35:12             Desc Main
                                   Document      Page 2 of 2




Certification that copies have been sent to:

All parties, including the Interim Trustee and the Office of the U.S. Trustee, via ECF

And

John Edward Small, Jr.
2408 Bainbridge St.
Richmond, VA 23225




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